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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 NANETTE CAMEL,                                     Case No. 16-cv-06309-VC
                Plaintiff,
                                                    ORDER OF DISMISSAL
         v.

 EQUIFAX, INC.,
                Defendant.



       The Court has been advised by the filing of the Notices of Settlement on December 15,

2016 and January 2, 2017 that both defendants in this case have reached a settlement in principle

with the plaintiff. Therefore, it is ORDERED that this case is DISMISSED without prejudice.

All deadlines and hearings in the case are vacated. Any pending motions are moot.

       The parties retain the right to reopen this action within 60 days of this Order if either

settlement is not consummated. If a request to reinstate the case is not filed and served on
opposing counsel within 60 days, the dismissal will be with prejudice.

       IT IS SO ORDERED.

Dated: January 6, 2017
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
